Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 1 of 12   PageID 11




                           Exhibit
                                     1
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 2 of 12   PageID 12
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 3 of 12   PageID 13
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 4 of 12   PageID 14
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 5 of 12   PageID 15
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 6 of 12   PageID 16
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 7 of 12   PageID 17
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 8 of 12   PageID 18
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 9 of 12   PageID 19
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 10 of 12   PageID 20
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 11 of 12   PageID 21
Case 2:20-cv-02167-JTF-cgc Document 1-1 Filed 03/06/20 Page 12 of 12   PageID 22
